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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TENNESSEE
                                      WESTERN DIVISION


JOE MOSCON,                   )
                              )
                              )
                              )
      Plaintiff,              )
                              )
v.                            )                      Civil Action No. 2:09-CV-02332-BBD-tmp
                              )
GOLDEN RULE INSURANCE COMPANY )
and CHESTER SHMOLDAS,         )
                              )
                              )
      Defendants.             )

                                  STIPULATION OF DISMISSAL

         COME NOW the Plaintiff, Joe Moscon, and the Defendants, Golden Rule Insurance

Company and Chester Shmoldas, and announce to the Court that all matters herein controversy

between them have been compromised and settled out of Court, and that the Plaintiff, for

valuable consideration, has executed a Release in full and final settlement of all of his claims

against the Defendants, including any and all subrogation interests or liens, if any, arising out of

the matters here in controversy. Additionally, pursuant to the Release, the parties have agreed

that the policy at issue in this case is null and void and of no effect. As a result, the parties

stipulate that this cause of action should be dismissed with full prejudice to the re-filing of the

same, that the parties be relieved from any and all further responsibility in this matter, and that

each party shall bear their own discretionary costs. A proposed Order of Dismissal will be e-

mailed to the Court’s inbox.




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         Respectfully submitted this 13th day of January, 2010.




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of January, 2010, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be served by
regular U.S. Mail. Parties may access this filing through the Court’s electronic filing system.


                                                              _\s\ R Brad Morgan
                                                              R Brad Morgan (TN BPR # 24620)




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